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                                  I N T H E U NI T E D S T A T E S DI S T RI C T C O U R T
                                      F O R T H E DI S T RI C T O F M A R Y L A N D
                                              B A L TI M O R E DI VI SI O N

________________________________________
                                              )
D A VI D G. F EI N B E R G et al., a n d all ot h ers
                                              )
si mil arl y sit u at e d,                    )
                                              )
                        Pl ai ntiffs,         )
                                              )                                      Ci vil A cti o n N o. 1: 1 7- c v- 0 0 4 2 7-J K B
vs.                                           )
                                              )
T. R O W E P RI C E G R O U P, I N C. et al., )
                                              )
                        D ef e n d a nts.     )
________________________________________ )


                                  J OI N T M O TI O N F O R P R O T E C TI V E O R D E R

           D ef e n d a nts a n d Pl ai ntiffs, t hr o u g h t h eir u n d ersi g n e d c o u ns el, h er e b y j oi ntl y fil e t his J oi nt

M oti o n f or Pr ot e cti v e Or d er p ur s u a nt t o F e d. R. Ci v. P. 2 6( c).           C o u ns el f or D ef e n d a nts a n d

c o u ns el f or Pl ai ntiffs h a v e c o nf err e d, r e vi e w e d, a n d a gr e e d t o t his J oi nt M oti o n f or Pr ot e cti v e

Or d er a n d t h e att a c h e d Pr o p os e d Sti p ul at e d Pr ot e cti v e Or d er. A pr ot e cti v e or d er is n e c ess ar y f or

t h e pr ot e cti o n of c o nfi d e nti al d o c u m e nts t h at m a y b e pr o d u c e d in t his m att er b y t h e p arti es

b e c a us e t h e d o c u m e nts m a y c o nt ai n pr o pri et ar y a n d ot h er c o nfi d e nti al i nf or m ati o n. T h e

Pr o p os e d Sti p ul at e d Pr ot e cti v e Or d er is att a c h e d t o t his J oi nt M oti o n. A c c or di n gl y, D ef e n d a nts

a n d Pl ai ntiffs r es p e ctf ull y r e q u e st t h at t h e C o urt iss u e t h e att a c h e d Pr o p os e d Sti p ul at e d

Pr ot e cti v e Or d er.
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                                                              R es p e ctf ull y s u b mitt e d,

D at e d: F e br u ar y 1 5, 2 0 1 9

 B y: /s/ J a m es A. M o or e                                          B y: /s/ S h a n n o n M. B arr ett
 J a m es A. M o or e ( a d mitt e d pr o h a c vi c e )                S h a n n o n M. B arr ett
 Mi k a el N e vill e ( U S D C D. M d B ar N o. 1 9 8 5 5)             Bri a n D. B o yl e ( pr o h a c vi c e )
 M C TI G U E L A W L L P                                               Gr e g or y F. J a c o b ( D. M d. B ar N o. 0 6 7 6 9)
 4 5 3 0 Wis c o nsi n A v e., N W, St e. 3 0 0                         S h a n n o n M. B arr ett ( D. M d. B ar N o.
 W as hi n gt o n, D C 2 0 0 1 6                                        1 6 4 1 0)
 T el: ( 2 0 2) 3 6 4- 6 9 0 0                                          D e a n n a M. Ri c e ( pr o h a c vi c e )
 F a x: ( 2 0 2) 3 6 4- 9 9 6 0                                         O’ M E L V E N Y & M Y E R S L L P
 j m o or e @ m cti g u el a w. c o m                                   1 6 2 5 E y e Str e et, N. W.
 m n e vill e @ m cti g u el a w. c o m                                 W as hi n gt o n, D. C. 2 0 0 0 6
                                                                        T el e p h o n e: ( 2 0 2) 3 8 3- 5 3 0 0
 B y: /s/ S c ott M. L e m p ert                                        F a csi mil e: ( 2 0 2) 3 8 3- 5 4 1 4
 C O H E N MI L S T EI N S E L L E R S & T O L L,                       b b o yl e @ o m m. c o m
 PLLC                                                                   gj a c o b @ o m m. c o m
 K ar e n L. H a n d orf ( a d mitt e d pr o h a c vi c e )             s b arr ett @ o m m. c o m
 S c ott M. L e m p ert ( a d mitt e d pr o h a c vi c e )              d eri c e @ o m m. c o m
 J a mi e B o w ers ( a d mitt e d pr o h a c vi c e )
 1 1 0 0 N e w Y or k A v e n u e, N. W.                                J effr e y A. N. K o p c z y ns ki ( pr o h a c vi c e
 S uit e 5 0 0, W est T o w er                                          p e n di n g )
 W as hi n gt o n, D. C. 2 0 0 0 5                                      O’ M E L V E N Y & M Y E R S L L P
 T el: ( 2 0 2) 4 0 8- 4 6 0 0                                          Ti m es S q u ar e T o w er
 F a x: ( 2 0 2) 4 0 8- 4 6 9 9                                         7 Ti m es S q u ar e
 k h a n d orf @ c o h e n milst ei n. c o m                            N e w Y or k, N e w Y or k 1 0 0 3 6
 sl e m p ert @ c o h e n milst ei n. c o m                             T el e p h o n e: ( 2 1 2) 3 2 6- 2 0 0 0
 j b o w ers @ c o h e n milst ei n. c o m                              F a csi mil e: ( 2 1 2) 3 2 6- 2 0 6 1
                                                                        j k o p c z y ns ki @ o m m. c o m
 C o u ns el f or Pl ai ntiffs
                                                                        Att or n e ys f or D ef e n d a nts




                                                                  2
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                                             C E R TI FI C A T E O F S E R VI C E

          I, S h a n n o n M. B arr ett, h er e b y certif y t h at o n F e br u ar y 1 5, 2 0 1 9, I c a us e d a c o p y of t h e

f or e g oi n g d o c u m e nt t o b e s er v e d u p o n all c o u ns el of r e c or d vi a t h e C M/ E C F s yst e m f or t h e

U nit e d St at es Distri ct C o urt f or t h e Distri ct of M ar yl a n d.


                                                                /s/ S h a n n o n M. B arr ett
                                                                   S h a n n o n M. B arr ett




                                                                    3
